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   7   ecf@gnglaw.com
       Attorneys for Debtor
   8

   9                         IN THE UNITED STATES BANKRUPTCY COURT

  10                                  FOR THE DISTRICT OF ARIZONA

  11
       In re                                               In Proceedings Under
  12                                                       Chapter 11
       DEED AND NOTE TRADERS, LLC,
  13                                                       NO. 4:10-bk-03640-EWH
                                            Debtor.
  14
                                                           FIRST MODICATION TO DEBTOR'S
  15                                                       PLAN OF REORGANIATION DATED
                                                           APRIL 2, 2010
  16

  17

  18                  Deed and Note Traders, LLC, the Debtor herein (“DNT” or “Debtor”), pursuant to
  19   Bankruptcuy Code §1127(a) hereby modifies its Plan of Reorganization dated April 2, 2010 (the
  20   “Plan”) to add certain new Classes of claims that have result from agreement entered into with
  21   certain secured and unsecured creditor since the filing of the initial Plan. In addition, and as a
  22   result of certain of such agreements, the Plan will be modified to add a new Class of claims that
  23   allows, but does require, general unsecured creditors to elect alternative treatment under the Plan.
  24   The Debtor asserts that because this modification only alter the treatment of those creditors that
  25   have specifically agreed to the treatment of their claims under this Modification, or those
  26

        DEED AND NOTE TRADERS\BK2\XXX.doc
        12/22/10 9:37 AM

Case 4:10-bk-03640-BMW        Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34                 Desc
                               Main Document    Page 1 of 8
                                                                            1
                                                                                creditors who voluntarily elect to be treated differently under this Modification, no further
                                                                            2
                                                                                disclosure pursuant to Bankruptcy Code §1125 is necessary or required.
                                                                            3
                                                                                               Except as set forth below, all terms and provisions of the Plan shall remain
                                                                            4
                                                                                unchanged:
                                                                            5
                                                                                   1. The following additional classes shall be added to the Plan:
                                                                            6
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                                                                            7
                                                                                       Class 8 – Bank of Arizona Secured Claims. The claims classified as the Class 8 Claims
                                                                            8
                                                                                shall consist of the secured claims of Bank of Arizona shall be paid in accordance with that
                                                   TUCSON, ARIZONA 85716
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                                                                            9
                                                                                certain Stipulation entered into by and between Bank of Arizona and the Debtor and filed with the
                                                         (520) 722-2600
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                                                                           10
                                                                                Court on September 2, 2010 (Docket Entry 591), pursuant to which certain collateral was
                                                                           11
                                                                                abandoned to Bank of Arizona and Bank of Arizona waivered any claim it may have had to asset
                                                                           12
                                                                                an unsecured claim for a deficiency. The Class 8 claim is impaired under the Plan.
                                                                           13
                                                                                       Class 9 – Canyon Community Bank Secured Claims. The claims classified as the
                                                                           14
                                                                                Class 9 Claims consist of the secured claims of Canyon Community Bank (“CCB”). The class 9
                                                                           15
                                                                                claims shall be paid in accordance with that certain Stipulation entered into by and between CCB
                                                                           16
                                                                                and the Debtor dated and filed with Court on or about August 18, 2010 (Docket 503). The class 9
                                                                           17
                                                                                Claim is impaired under the Plan.
                                                                           18
                                                                                       Class 10 – Rosen/Munic/Kenedy Secured Claims. The class 10 secured claims of
                                                                           19
                                                                                Dennis A Rosen, Joan Rosen, Matthew Rosen, Amanda Rosen, Douglas C. Kennedy and John
                                                                           20
                                                                                Munic Enterprises, Inc. (the “Rosen Claims’), in the approximate sum of $1,600,000.00, secured
                                                                           21
                                                                                by first and second deeds of trust on numerous properties, shall be paid as follows:
                                                                           22
                                                                                       A.      Upon the Effective Date, the Debtor shall pay to the holders of the Class 10 claims
                                                                           23
                                                                                the sum of $250,000;




                                                                                 DEED AND NOTE TRADERS\BK2\XXX.doc
                                                                                 12/22/10 9:37 AM
                                                                                                                          -2-
                                                                    Case 4:10-bk-03640-BMW             Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34               Desc
                                                                                                        Main Document    Page 2 of 8
                                                                            1
                                                                                       B.      Upon the Effective Date, the Debtor shall execute and deliver to deeds and/or
                                                                            2
                                                                                deeds in lieu of foreclosure for the following properties, free and clear of all liens and with all
                                                                            3
                                                                                property taxes paid current:
                                                                            4

                                                                            5
                                                                                               1. 2225 E. Hildalgo, Tucson, AZ;
                                                                            6
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                                                                                               2. 6275 N Carapan, Tucson, AZ;
                                                                            7
                                                                                               3. 1412 E. Grant, Tucson, Az; and
                                                                            8
                                                                                               4. 449 E. Lester, Tucson, AZ (to include any right to insurance proceeds from the
                                                   TUCSON, ARIZONA 85716
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                                                                            9
                                                                                                    destruction of the building)
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                                                                           10

                                                                           11
                                                                                       C.      Upon the Effective date, the Debtor shall execute and deliver all of its right title
                                                                           12
                                                                                and interest in and to the following properties, subject existing liens and encumbrances:
                                                                           13
                                                                                               1.      6060 S. Belvedere, Tucson, AZ;
                                                                           14
                                                                                               2.      1249 W. Navajo; and
                                                                           15
                                                                                               3.      570 E. San Moritz.
                                                                           16

                                                                           17
                                                                                       D.      Upon Debtor’s performance of its obligation to the holders of the Class 10 claims
                                                                           18
                                                                                under the Plan, the Class 10 Claimants shall execute and deliver to Debtor, a Deed and Release
                                                                           19
                                                                                and Reconveyance to all other real property collateral held by the Class 10 Claimants.
                                                                           20
                                                                                       E.      The balance of the Rosen Claims shall be paid as unsecured claims under Class 11
                                                                           21
                                                                                of the Plan.
                                                                           22
                                                                                       F.      The Class 10 claim is impaired under the Plan
                                                                           23

                                                                                       Class 11 – Unsecured Rosen Claim. The Class 11 Claim shall consist of the unsecured

                                                                                Rosen Claims and shall be allowed in the sum of $1,000,000. The Class 11 Claim shall be paid



                                                                                 DEED AND NOTE TRADERS\BK2\XXX.doc
                                                                                 12/22/10 9:37 AM
                                                                                                                           -3-
                                                                    Case 4:10-bk-03640-BMW              Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34                Desc
                                                                                                         Main Document    Page 3 of 8
                                                                            1
                                                                                on the Effective Date a sum of $50,000.00, or five percent (5%) of the allow unsecured Rosen
                                                                            2
                                                                                Claim. No further amount shall be paid on account of the Class 11 Claim. The Class 11 Claim is
                                                                            3
                                                                                impaired under the Plan.
                                                                            4

                                                                            5
                                                                                       Class 12 – Alternative Election for the Holders of Class 6 Unsecured Claims.             Any
                                                                            6
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                                                                                holders of a Class 6 Unsecured Claim shall have the option, but shall not be required, to elect to
                                                                            7
                                                                                receive a sum equal to five percent (5%) of the allow amount of each Allowed Unsecured Claim,
                                                                            8
                                                                                which sum would be paid on the Effective Date. Any Class 6 Claimant electing to be treated as a
                                                   TUCSON, ARIZONA 85716
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                                                                            9
                                                                                Class 12 Claim, shall, no later than 30 days after receiving written notice of its right to make
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                                                                           10
                                                                                such an election, which Notice shall be mailed to the holders of all Class 6 claims no later than
                                                                           11
                                                                                the Effective Date, notify the Debtor in writing of its election. Any Class 6 Claimant making the
                                                                           12
                                                                                election to be treated as a Class 12 Claimant shall not received any further distributions under the
                                                                           13
                                                                                Plan. Any Class 6 Claimant, not timely electing to be treated as a Class 6 Claimant shall be paid
                                                                           14
                                                                                in full as a Class 6 creditor in accordance with this Plan. Class 12 is impaired under the Plan.
                                                                           15

                                                                           16
                                                                                   2. Paragraph 7.1 of the Plan, dealing with the treatment of Class 5 Claims, shall be modified
                                                                           17
                                                                                to add the following sentence at the end of paragraph 7.1:
                                                                           18

                                                                           19
                                                                                               If within such 30 day period, the holder of the Class 5 claimant notifies the Debtor
                                                                           20
                                                                                               that it does not intent to accept the Deed, the Debtor shall not be authorized to
                                                                           21
                                                                                               record the Deed without such claimant’s written consent and approval of the Deed.
                                                                           22

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                                                                                 DEED AND NOTE TRADERS\BK2\XXX.doc
                                                                                 12/22/10 9:37 AM
                                                                                                                          -4-
                                                                    Case 4:10-bk-03640-BMW             Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34                 Desc
                                                                                                        Main Document    Page 4 of 8
                                                                            1
                                                                                   3. Notwithstanding anything in the Plan to the contrary, the “Effective Date” shall be the
                                                                            2
                                                                                first business day following the entry of the Confirmation Order.
                                                                            3

                                                                            4

                                                                            5                  DATED this 22nd day of December, 2010.
                                                                            6                                                   GIBSON, NAKAMURA & GREEN, P.L.L.C.
              GIBSON, NAKAMURA & GREEN, P.L.L.C.




                                                                            7

                                                                            8                                                   By: /s/ Scott D. Gibson (007395)
                                                                                                                                   Scott D. Gibson
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                                                                            9                                                      Kristen M. Green
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                                                                                                                                   Attorneys for Debtor
LAW OFFICES




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                                                                                 12/22/10 9:37 AM
                                                                                                                          -5-
                                                                    Case 4:10-bk-03640-BMW             Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34           Desc
                                                                                                        Main Document    Page 5 of 8
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                                                                                                                     CERTIFICATE OF SERVICE
                                                                            2
                                                                                        Original electronically filed and copies of the foregoing served via the Court’s CM/ECF
                                                                            3   Notification System this 22nd day of December, 2010, on all Electronic Case Filing Participants
                                                                            4   that have appeared in the above-captioned case, or U.S. Mail to parties not registered through
                                                                                CM/ECF.
                                                                            5

                                                                            6   Elizabeth C. Amorosi                                Nancy J. March
              GIBSON, NAKAMURA & GREEN, P.L.L.C.




                                                                                United States Trustee                               DECONCINI MCDONALD YETWIN & LACY,
                                                                            7   230 N. First Ave., Suite 204                        P.C.
                                                                                Phoenix, AZ 85003                                   2525 E. Broadway Blvd., #200
                                                                            8                                                       Tucson, AZ 85716
                                                                                Howard A. Chorost                                   Attorneys for RMKM Family Ltd Partnership
                                                   TUCSON, ARIZONA 85716




                                                                                21 E. Speedway Boulevard
                                                    2329 N. TUCSON BLVD.




                                                                            9
                                                                                Tucson, AZ 85705                                    American Home Mortgage Services, Inc.
                                                         (520) 722-2600
LAW OFFICES




                                                                                Attorney for Vantage West Credit Union              1525 S. Beltline Road, Suite 100 N
                                                                           10                                                       Coppell, TX 75019
                                                                                Clifford B. Altfeld                                 Creditor
                                                                           11   ALTFELD, BATTAILE & GOLDMAN, P.C.
                                                                                250 N. Meyer Ave.                                   Dennis J. Clancy
                                                                           12   Tucson, AZ 87501                                    RAVEN, CLANCY, & McDONAGH, P.C.
                                                                                Attorneys for Canyon Community Bank                 313 South Convent
                                                                           13                                                       Tucson, AZ 85701
                                                                                Wendy A. Peterson                                   Attorneys for CNH Capital America LLC
                                                                           14   PIMA COUNTY ATTORNEY
                                                                                Civil Division                                      Maria Tsagaris
                                                                           15   32 N. Stone Ave., Suite 2100                        MCCALLA RAYMER, LLC
                                                                                Tucson, AZ 85701                                    1544 Old Alabama Road
                                                                           16                                                       Roswell, GA 30076-2102
                                                                                Clyde Gavin                                         Attorneys for Litton Loan Servicing, L.P., and Saxon
                                                                           17   7240 S. Camino Mirlo                                Mortgage Services, and America’s Servicing
                                                                                Tucson, AZ 85747                                    Company; Wells Fargo Bank, N.A.
                                                                           18   Creditor
                                                                                                                                    Dennis A. Rosen
                                                                           19   Hilary B. Bonial                                    LAW OFFICES OF DENNIS A. ROSEN
                                                                                F# 7745-N-3145                                      1670 E. River Road, Suite 124
                                                                           20   9441 LBJ Freeway, Suite 350                         Tucson, AZ 85718
                                                                                Dallas, TX 75243                                    Attorneys for Creditors John Munic Enterprises,
                                                                                Attorney for Specialized Loan Servicing, LLC,       Creditors Rosen, and Creditor Kennedy
                                                                           21   American Home Mortgage Servicing, Inc., Saxon
                                                                                Mortgage Services; BAC Home Loans Servicing LP      Gerard O’Meara
                                                                           22                                                       GUST ROSENFELD, PLC
                                                                                Specialized Loan Servicing, LLC                     1 S. Church Ave., Suite 1900
                                                                           23   8742 Lucent Blvd., Suite 300                        Tucson, AZ 85701-1620
                                                                                Highlands Ranch, CO 80129                           Attorneys for Alaska Seaboard Partners, L.P.
                                                                                Creditor




                                                                                 DEED AND NOTE TRADERS\BK2\XXX.doc
                                                                                 12/22/10 9:37 AM
                                                                                                                              -6-
                                                                    Case 4:10-bk-03640-BMW                 Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34                Desc
                                                                                                            Main Document    Page 6 of 8
                                                                            1   Mark S. Bosco                                      Josephine E. Piranio
                                                                                TIFFANY & BOSCO                                    Brian A. Paino
                                                                            2   2525 East Camelback Road, Suite 300                Kyle J. Shelton
                                                                                Phoenix, AZ 85016                                  PITE DUNCAN
                                                                            3   Attorneys for Citibank, N.A., U.S. Bank National   4375 Jutland Drive, Suite 200
                                                                                Association; Residential Funding Company, LLC;     P.O. Box 17933
                                                                            4   Chase Home Finance LLC; Deutsche Bank National     San Diego, CA 92177-0933
                                                                                Trust Company; Kondaur Capital Corporation;        Attorneys for Ocwen Loan Servicing, LLC
                                                                                Flagstar Bank, FSB; Wells Fargo Bank; America’s     And PNC Bank National Association; and JPMorgan
                                                                            5   Servicing Company; BAC Home Loan Servicing,        Chase; Citibank, N.A.; U.S. Bank National;
                                                                                L.P., PNC Mortgage; Litton Loan Servicing          J.P. Morgan Mortgage Acquisition Corp.; Bank of
                                                                            6                                                      America, EMC Mortgage Corporation; GMAC
              GIBSON, NAKAMURA & GREEN, P.L.L.C.




                                                                                Saxon Mortgage Services                            Mortgage; Wachovia Bank, N.A. Home Loan
                                                                            7   1270 Northland Drive, Suite 200                    Services, Inc.; Wachovia Mortgage; Washington
                                                                                Mendota Heights, MN 55120                          Mutual Bank; Deutsche Bank National Trust Co.;
                                                                            8   Creditor                                           Select Portfolio Servicing, Inc.; Citibank, N.A., as
                                                                                                                                   Trustee
                                                   TUCSON, ARIZONA 85716
                                                    2329 N. TUCSON BLVD.




                                                                            9   Michael M. Neal
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                                                                           11   Attorneys for Bank of Arizona                      Second Floor
                                                                                                                                   Irvine, CA 92612
                                                                           12   Carolyn Lee-Lemons                                 Attorneys for Flagstar Bank; HSBC Mortgage
                                                                                7993 W. Tree Frog Trail                            Corporation; Onewest Bank FSB; Wells Fargo Bank
                                                                           13   Tucson, AZ 85735
                                                                                Creditor                                           Jason P. Sherman
                                                                           14                                                      PERRY & SHAPIRO
                                                                                The Ridge 4 Homeowners Association                 3300 N. Central Avenue, #2200
                                                                           15   c/o Carolyn B. Goldschmidt                         Phoenix, AZ 85012
                                                                                Monroe McDonough Goldschmidt & Molla, PLLC         Attorneys for Deutsche Bank; Suntrust Mortgage, Inc.
                                                                                4578 North First Avenue, Ste. 160                  HSBC Bank; Suntrust
                                                                           16
                                                                                Tucson, AZ 85718-5607
                                                                                Attorneys Secured The Ridge 4 Homeowners           Ocwen Loan Servicing, LLC
                                                                           17   Association                                        1661 Worthington Road, Suite 100
                                                                                                                                   P.O. Box 24737
                                                                           18                                                      West Palm Beach, FL 33415
                                                                                                                                   Creditor
                                                                           19
                                                                                                                                   Matthew A. Silverman
                                                                           20                                                      MCCARTHY, HOLTHUS & LEVINE
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                                                                                                                                   Jeremy T. Bergstrom, Esq.
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                                                                                                                                   Company, The Bank of New York Mellon




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                                                                                 12/22/10 9:37 AM
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                                                                    Case 4:10-bk-03640-BMW                Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34               Desc
                                                                                                           Main Document    Page 7 of 8
                                                                            1   Travis B. Hill                                   Andrew Goldberg
                                                                                Daniel L. Hulsizer                               Rosicki, Rosicki & Associates, P.C.
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                                                                                Phoenix, AZ 85067                                Company and Barclays Capital Real Estate, Inc.
                                                                            4   Attorneys for Litton Loan Servicing, L.P., and
                                                                                America's Servicing Company                      BAC Home Loans Servicing, LP
                                                                                                                                 7105 Corporate Drive
                                                                            5   Steven M. Cox                                    Plano, TX 75024
                                                                                WATERFALL ECONOMIDIS                             Creditor
                                                                            6   5210 E. Williams Circle, 8th Floor
              GIBSON, NAKAMURA & GREEN, P.L.L.C.




                                                                                Tucson, AZ 85711                                 Kim Lepore
                                                                            7   Attorneys for Robert J.F. Houyoux                ROBERT J. HOPP & ASSOCIATES
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                                                                            8                                                    Denver, CO 80204
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                                                                                By: /s/ Linda Caputo
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                                                                                 12/22/10 9:37 AM
                                                                                                                             -3-
                                                                    Case 4:10-bk-03640-BMW                Doc 1060 Filed 12/22/10 Entered 12/22/10 09:32:34             Desc
                                                                                                           Main Document    Page 8 of 8
